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                                       EXHIBIT T
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              IN THE DISTRICT COURT OF THE SECOND JUDICIAL DISTRICT

             OF THE STATE OF IDAHO, IN AND FOR THE COUNTY OF LATAH


 STATE OF IDAHO,
                                                      Case No. CR29-22-2805
                Plaintiﬂ',                            Grand Jury Case No. 29-234

 V.                                                   INDIC’IMENT

 BRYAN C. KOI-IBERGER,
 DOB: 11/21/1994
 SSN: ***-“-5842
                Defendant.



       BRYAN C. KOHBERGER is accused by the Grand Jury of Latah County by this
Indictment, of the crimes of: BURGLARY, IDAHO CODE § 18-1401, 1403, a Felony in Count I;
MURDER IN THE FIRST DEGREE, Idaho Code § 18-4001, 4002, 4003, 4004, a Felony in Count H;
MURDER IN THE FIRST DEGREE, Idaho Code § 18—4001, 4002, 4003, 4004, a Felony in Comt III;
MURDER IN THE FIRST DEGREE, Idaho Code § 18-4001, 4002, 4003, 4004, a Felony in Count 1V;
and MURDER IN THE FIRST DEGREE, Idaho Code § 18-4001, 4002, 4003, 4004, a Felony in

Count V, as follows:


                                             COUNT I
                                           BURGLARY
                               Idaho Code § 18-1401, 1403 a Felony

       That the Defendant, BRYAN C. KOHBERGER, on or about November 13, 2022 in
       Latah County, State of Idaho, did unlawfully enter a residence, located at 1122 King
       Road, Moscow, with the intent to commit the felony crime of murder.




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                                         COUNT II
                             MURDER IN THE FIRST DEGREE
                      Idaho Code § 18-4001, 4002, 4003, 4004, a Felony

     That the Defendant, BRYAN C. KOHBBRGER, on or about November l3, 2022, in
     Latah County, State of Idaho, did wilfully, unlawfully, deliberately, with
     premeditation and with malice aforethought, kill and murder Madison Mogen, a
     human being, by stabbing Madison Mogen, ﬁ'om which she died.



                                    COUNT III
                            MURDER 1N THE FIRST DEGREE
                      Idaho Code § 18-4001, 4002, 4003, 4004, a Felony

    That the Defendant, BRYAN C. KOHBERGER, on or about November l3, 2022, in
    Latah County, State of Idaho, did wilfully, unlawfully, deliberately, with
    premeditation and with malice aforethought, ldll and murder Kaylee Goncalves, a
    human being, by subbing Kaylee Goncalves, ﬁom which she died.



                                         COUNT IV
                            MURDER 1N THE FIRST DEGREE
                      Idaho Code § 18-4001, 4002, 4003, 4004, a Felony

    That the Defendant, BRYAN C. KOHBERGER, on or about November l3, 2022, in
    Latah County, State of Idaho, did wilfully, unlawfully, deliberately, with
    premeditation and with malice aforethought, kill and murder Xana Kemodle, a human
    being, by stabbing Xana Kernodle, ﬁ'om which she died.


                                     COUNT V
                            MURDER IN THE FIRST DEGREE
                      Idaho Code § 18-4001, 4002, 4003, 4004, a Felony

     That the Defendant, BRYAN C. KOHBERGER, on or about November 13, 2022, in
     Latah County, State of Idaho, did wilfully, unlawfully, deliberately, with
     premeditation and with malice aforethought, kill and murder Ethan Chapin, a human
     being, by stabbing Ethan Clnpin, ﬁom which he died.




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       All of which is contrary to the form, force, and effect of the statutes in such case made and

provided and against the peace and dignity of the State of Idaho.

                                           A TRUE BILL



       PreeentedinopenCourtthis       [Kg dayof                         ,2023.
                                                     M&%
                                             Presiding Gmﬁd
                                             Latah County, State of Idaho




 INDICTMENT                                Page 3
